Case: 6:11-cr-00016-GFVT-HAI           Doc #: 139 Filed: 01/23/13          Page: 1 of 3 - Page
                                          ID#: 576



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                     AT LONDON


                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )          Criminal No. 11-16-GFVT
        Plaintiff,                               )
                                                 )
 V.                                              )                   ORDER
                                                 )
 MICHAEL HATFIELD,                               )
                                                 )
        Defendant.                               )
                                                 )
                                                 )


                                      *** *** *** ***

       This matter is before the Court upon the reported violations of supervised release

conditions by Defendant Michel Hatfield. This issue was referred to Magistrate Judge Hanly A.

Ingram [R. 126], who conducted a hearing pursuant to Federal Rule of Criminal Procedure

32.1(b). [R. 135]. Following this hearing, Judge Ingram prepared a Recommended Disposition,

in which he recommended revocation of supervised release, imprisonment for a term of one day,

and an additional supervised release term of thirty-five (35) months and twenty-nine (29) days

subject to the same conditions of the Court’s judgment dated September 26, 2011. [R. 136].

Judge Ingram also recommended that Hatfield submit to two additional conditions of supervised

release including weeWillkly drug testing at the USPO in London, Kentucky for the first six

months of his supervised release and outpatient drug treatment and counseling at the direction of

the USPO. [R. 136].




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Case: 6:11-cr-00016-GFVT-HAI            Doc #: 139 Filed: 01/23/13           Page: 2 of 3 - Page
                                           ID#: 577



       Pursuant to 28 U.S.C. § 636(b)(1), a party has fourteen days after being served with a

copy of the Recommended Disposition to file a specific written objection. Upon receiving an

objection by a party, this Court must conduct a de novo review of the portion of the

Recommended Disposition to which the party specifically objected. However, as Judge Ingram

warned in his Recommended Disposition, “Failure to make timely objection consistent with this

statute and rule may, and normally will, result in waiver of further appeal to or review by the

District Court or Court of Appeals. See United States v. Walters, 638 F.2d 947, 950 (6th Cir.

1981); Thomas v. Arn, 106 S. Ct. 466 (1985).” [R. 136].

       As the period for the Defendant to file his objections to the Recommended Disposition

has passed and no objection has been raised, the Defendant has effectively waived any rights he

might have had to de novo review by this Court or an appeal in the Court of Appeals. Further,

the Defendant has recently filed a waiver of allocution [R. 138], expressly waiving any right he

might have had to a hearing prior to a final judgment by this Court. Therefore, the Court having

now reviewed the Recommended Disposition hereby accepts the recommendation of the

Magistrate Judge and adopts it as and for the opinion of this Court.

       Accordingly, it is ORDERED as follows:

       1.      The Final Hearing scheduled for Wednesday, January 23, 2013 is CANCELLED

in light of the Defendant’s recently filed Waiver of Allocution. [R. 138].

       2.      The Magistrate Judge’s Recommended Disposition [R.136] is ADOPTED as and

for the opinion of this Court;

       3.      The Defendant’s supervised release is revoked in favor of imprisonment for a

term of one day, and an additional supervised release term of thirty-five (35) months and twenty-

nine (29) days subject to the same conditions of the Court’s judgment dated September 26, 2011,


                                                 2
Case: 6:11-cr-00016-GFVT-HAI            Doc #: 139 Filed: 01/23/13          Page: 3 of 3 - Page
                                           ID#: 578



as well as two additional conditions of supervised release including weekly drug testing at the

USPO in London, Kentucky for the first six months of his supervised release and outpatient

drug treatment and counseling at the direction of the USPO; and

       4.      An Amended Judgment shall be entered.



       This the 23rd Day of January, 2013.




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